Case 2:21-cv-02879-FMO-JPR ee Filed 06/02/21 Page lofi Page ID #:50

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Justin Kojak CASE NUMBER

 

2:21-cv-02879 DSF(PVCx)

 

 

 

v. PLAINTIFF(S)
Canoo Inc. et al ORDER RE TRANSFER PURSUANT
TO GENERAL ORDER 21-01
(RELATED CASES)
DEFENDANT(S).
CONSENT

I hereby consent to the transfer of the above-entitled case to my calendar, pursuant to General Order 21-01.

 

 

June 2, 2021 /s/ Fernando M. Olguin
Date United States District Judge
DECLINATION

I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:

 

 

 

 

 

Date United States District Judge

 

REASON FOR TRANSFER AS INDICATED BY COUNSEL
Case 2:21-cv-02873 FMO(JPRx) and the present case:

 

A. Arise from the same or closely related transactions, happenings or events; or
y PP 8
¥| B. Call for determination of the same or substantially related or similar questions of law and fact; or
y q
C. For other reasons would entail substantial duplication of labor if heard by different judges; or
P Y judg
[] D. Involve one or more defendants from the criminal case in common, and would entail substantial

duplication of labor if heard by different judges (applicable only on civil forfeiture action).

 

NOTICE TO COUNSEL FROM CLERK

Pursuant to the above transfer, any discovery matters that are or may be referred to a Magistrate Judge are hereby

transferred from Magistrate Judge Castillo to Magistrate Judge Rosenbluth

 

 

On all documents subsequently filed in this case, please substitute the initials FMO(JPRx) after the case number
in place of the initials of the prior judge, so that the case number will read —_ 2:21-cv-02879 FMO(JPRx) __. This is very

 

important because the documents are routed to the assigned judges by means of these initials

ce: [_] Previous Judge [_] Statistics Clerk
CV-34 (03/21) ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 21-01 (Related Cases)

 

 
